                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:24-cv-03401-PAB-STV

KRISTOPHER JAMES COMPANY,

      Plaintiff/Counterclaim-Defendant,

v.

NATIONAL BANK HOLDINGS CORPORATION,

      Defendant/Counterclaim-Plaintiff.


     NATIONAL BANK HOLDINGS CORPORATION’S ANSWER, AFFIRMATIVE
                   DEFENSES, AND COUNTERCLAIMS


      Defendant/Counterclaim-Plaintiff National Bank Holdings Corporation (“NBHC”),

by and through undersigned counsel, respectfully submits this Answer, Affirmative

Defenses, and Counterclaims to Plaintiff/Counterclaim-Defendant Kristopher James

Company’s (“KJC”) Complaint.

                             ANSWER TO COMPLAINT

                       PARTIES, JURSIDCTION, AND VENUE

      1.     NBHC admits the allegations in Paragraph 1.

      2.     NBHC admits the allegations in Paragraph 2.

      3.     Paragraph 3 contains a legal conclusion for which no response is required.

      4.     Paragraph 4 contains a legal conclusion for which no response is required.

NBHC admits that it regularly conducts business in Colorado, but denies that it engaged

in any wrongful conduct.


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                               FACTUAL BACKGROUND

       5.     NBHC is without sufficient information or knowledge concerning the

allegations in Paragraph 5 and, therefore, denies them.

       6.     NBHC denies that it is the holding company for NBH Bank, N.A. NBHC is

the holding company for NBH Bank, which is a Colorado chartered bank. NBHC admits

that it provides banking and financial services to its customers. The remaining allegations

in Paragraph 6 are denied.

       7.     NBHC admits the allegations in Paragraph 7.

       8.     NBHC admits that a transaction between KJC and DSS occurred in 2022 at

which time KJC became the party-in-interest to the Agreement with NBHC. NBHC is

without sufficient information or knowledge of the specific details of the transaction to

admit that KJC acquired DSS and, therefore, denies the same.

       9.     Paragraph 9 refers to the Agreement, which is a document that speaks for

itself. NBHC denies any allegations that are contrary to the terms of the Agreement.

       10.    Paragraph 10 refers to the Agreement, which is a document that speaks for

itself. NBHC denies any allegations that are contrary to the terms of the Agreement.

NBHC admits that KJC provided to NBHC certain financial products pursuant to the

Agreement, but those products were not always provided timely, nor were they fully

conforming products.

       11.    NBHC admits that KJC earns revenue under the Agreement when NBHC

purchases items from KJC. NBHC denies the remaining allegations in Paragraph 11.

       12.    NBHC denies the allegations in Paragraph 12.


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      13.    NBHC admits the allegations in Paragraph 13.

      14.    Denied.

      15.    Paragraph 15 refers to the Agreement which is a document that speaks for

itself. NBHC denies any allegations that are contrary to the terms of the Agreement.

      16.    Paragraph 16 refers to the Agreement which is a document that speaks for

itself. NBHC denies any allegations that are contrary to the terms of the Agreement.

      17.    NBHC is without sufficient information or knowledge to admit or deny the

specific allegations contained in Paragraph 17 and, therefore, denies the same. NBHC

admits that it made purchases in October 2023.

      18.    NBHC is without sufficient information or knowledge to admit or deny the

specific allegations contained in Paragraph 18 and, therefore, denies the same. NBHC

admits that it made purchases in November 2023.

      19.    NBHC is without sufficient information or knowledge to admit or deny the

specific allegations contained in Paragraph 19 and, therefore, denies the same. NBHC

admits that it made purchases in December 2023.

      20.    NBHC is without sufficient information or knowledge to admit or deny the

remaining allegations contained in Paragraph 20 and, therefore, denies the same.

      21.    Denied.

      22.    NBHC is without sufficient information or knowledge to admit or deny the

specific allegations contained in Paragraph 22 and, therefore, denies the same. NBHC

admits that it made purchases in May 2024.




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       23.    NBHC is without sufficient information or knowledge to admit or deny the

specific allegations contained in Paragraph 23 and, therefore, denies the same. NBHC

admits that it made purchases in June and July 2024.

       24.    Denied.

       25.    NBHC denies that it was in violation of the Agreement for any reason. NBHC

admits that it repeatedly put KJC on notice of KJC’s numerous and ongoing material

breaches of the Agreement, including but not limited to, by providing damaged products,

nonconforming products, failing to provide all products ordered, delaying the processing

and shipping of orders, and otherwise failing to timely respond to inquiries and concerns

and failing to remedy them, including by failing to replace or repair nonconforming

products. NBHC also denies that these complaints were only lodged after-the-fact as they

were documented repeatedly to KJC. NBHC further denies that it failed to pay any

outstanding invoices that were due and owed.

       26.    Denied.

       27.    Denied.

                               FIRST CAUSE OF ACTION
                                  (Breach of Contract)

       28.    NBHC incorporates herein by reference its prior responses in Paragraphs 1

through 27 above as if fully set forth herein.

       29.    Paragraph 29 contains a legal conclusion for which no response is required.

       30.    Denied.

       31.    Paragraph 31 refers to the Agreement which is a document that speaks for

itself. NBHC denies any allegation that is contrary to the terms of the Agreement. NBHC

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denies the allegations in this paragraph to the extent they suggest that NBHC had an

obligation to purchase products from KJC beyond those specifically provided for in the

Agreement.

       32.    Denied.

       33.    Denied.

       34.    Paragraph 34 refers to the Agreement which is a document that speaks for

itself. NBHC denies any allegation that is contrary to the terms of the Agreement. NBHC

denies that it is liable for any purported damages suffered by KJC and denies that it is

responsible for any costs or attorneys’ fees.

       35.    Denied. NBHC affirmatively states that at no time did it breach the

Agreement and, further, the Agreement has since terminated so there could be no

continued breach in any event.

                           SECOND CAUSE OF ACTION
          (Breach of the Implied Covenant of Good Faith and Fair Dealing)

       36.    NBHC incorporates herein by reference its prior responses in Paragraphs 1

through 35 above as if fully set forth herein.

       37.    Paragraph 37 contains a legal conclusion for which no response is required.

To the extent a response is required, NBHC denies the allegations.

       38.    Denied.

       39.    Denied.

       40.    Denied.

       41.    Denied.



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                                    PRAYER FOR RELIEF

       42.     NBHC denies that KJC is entitled to any of the relief claimed in the Prayer

for Relief section, including but not limited to, the relief requested in sub paragraphs (a)

through (d).

                                     GENERAL DENIAL

       43.     NBHC denies any and all averments and allegations in the Complaint that

are not specifically admitted herein.

                           NBHC’S AFFIRMATIVE DEFENSES

       1.      KJC fails to state a claim upon which relief may be granted.

       2.      KJC’s claims or damages are barred, in whole or in part, as a result of its

own conduct, negligence, or other actions or inactions, including its material breaches of

the parties’ Agreement.

       3.      KJC’s claims or damages are barred, in whole or in part, because it was the

first party to materially breach the Agreement and NBHC’s obligations, if any, under the

Agreement were excused.

       4.      KJC’s claims or damages are barred, in whole or in part, because KJC failed

to mitigate its damages, if any.

       5.      KJC’s claims or damages are barred, in whole or in part, by the applicable

statute of limitations or repose.

       6.      KJC’s claims or damages are barred, in whole or in part, by the doctrines of

estoppel, waiver, acquiescence, laches, unclean hands, and any other equitable defense




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barring or limiting KJC’s right to pursue its claims or damages based on KJC’s own actions

or inaction.

       7.      NBHC reserves the right to assert additional defenses as they become

known through discovery.

                       NBHC’S COUNTERCLAIMS AGAINST KJC

                        PARTIES, JURISDICTION, AND VENUE

       1.      Upon information and belief, Kristopher James Company (“KJC”) is a

corporation organized and existing under the laws of the State of Texas, with its principal

place of business located at 1406 Dunn Drive, Carrollton, Texas 75006.

       2.      National Bank Holdings Corporation (“NBHC”) is a corporation organized

and existing under the laws of the State of Delaware, with its principal place of business

located at 7800 East Orchard Rd., Suite 300, Greenwood Village, Colorado 80111.

       3.      This Court has jurisdiction under 28 U.S.C. § 1332, because the parties are

citizens of different states and the amount in controversy exceeds $75,000.

       4.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, because NBHC

and KJC regularly conduct business in Colorado and it is where KJC’s wrongful conduct

occurred and/or was directed.

                                GENERAL ALLEGATIONS

       5.      NBHC is the holding company of NBH Bank. NBH Bank operates a number

of bank branches.

       6.      On or about September 19, 2019, NBHC and Deluxe Financial Services,

LLC d/b/a Deluxe Strategic Sourcing (“DSS”), entered into a certain Agreement for Use


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of Expense Management Platform (“Agreement’).

       7.    By information and belief, sometime in early 2022, KJC acquired DSS and

became the true party in interest to the Agreement.

       8.    Pursuant to the Agreement, KJC was to provide certain office supply items

and other services to NBHC (“DSS Sourced Products”).

       9.    Further, the Agreement states that KJC “will ensure the quality of DSS

Sourced Products reasonably conform to the specifications set forth in the purchase

authorization/orders. DSS shall, at its option, either replace or repair any nonconforming

DSS Sourced Products.”

       10.   The Agreement also provides that “Title to DSS Sourced Products shall

pass to [NBHC] upon [NBHC]’s purchase of DSS Sourced Products.”

       11.   In other words, the parties agreed that NBHC owned the DSS Sourced

Products as soon as NBHC purchased the products from KJC.

       12.   During the term of the Agreement, NBHC placed many orders with DSS and

KJC.

       13.   However, the quality of products and services provided by KJC began

having serious issues.

       14.   Specifically, KJC regularly failed to provide products that conformed with

NBHC’s purchase authorization/orders. Many of the product shipments contained

damaged, incomplete, or otherwise incorrect orders. In addition, many other orders were

not processed or shipped in a timely manner.




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        15.       Making matters worse, NBHC followed up with KJC about these issues and

KJC often failed to respond to the inquires, or when it did respond, it failed to take

appropriate steps to remedy the problems.

        16.       Unfortunately, these were not isolated incidents. Instead, this became a

regular business practice for KJC that went on for months.

        17.       But the problems were not limited to KJC’s failure to provide conforming

products under the Agreement. KJC actually refused to ship DSS Sourced Products to

NBHC that NBHC had ordered and paid KJC for.

        18.       In other words, KJC refused to ship to NBHC products that NBHC had paid

for, and pursuant to the terms of the parties’ Agreement, NBHC owned and held absolute

legal title to.

        19.       NBHC made repeated demands for KJC to provide NBHC the products it

had paid for and rightly owned, but KJC refused those demands.

        20.       Not only did KJC refuse to ship those products, but it actually went further

and demanded that NBHC provide consideration to KJC, that it had no legal right to

demand and was not otherwise entitled to, before KJC would agree to return NBHC’s

property.

        21.       For example, KJC demands included, among other things, that (1) NBHC

sign a release and waiver in favor of KJC related to the products that NBHC had

purchased and owned; (2) pay for storage fees that KJC allegedly incurred as a result of

its own failure and refusal to ship NBHC’s property, despite repeated demands, over the

course of many months; (3) pay separate and unrelated invoices, including interest, for


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purchases made by NBHC after the products KJC was improperly holding and which

payments NBHC was properly withholding as an offset to KJC’s theft of NBHC’s property;

and (4) attempted to use and leverage its theft of NBHC’s property in an effort to receive

more favorable terms for an unrelated and unfounded dispute concerning KJC’s

allegations that NBHC did not purchase sufficient products from KJC.

       22.    NBHC made repeated demands over numerous months, including in

writing, to KJC demanding that it return NBHC’s property, but KJC refused to honor its

contractual and legal obligations to return NBHC’s property unless NBHC complied with

KJC’s other demands, mentioned above, that it was not entitled to.

       23.    The Agreement provides that the breaching party, here KJC, will pay the

non-breaching party, here NBHC, “for all costs incurred by the non-breaching party to

enforce its rights under this Agreement, including reasonable attorneys’ fees and costs of

discovery.”

       24.    In an effort to try to cover up its misconduct and repeated material breaches

of the Agreement and to attempt to further exert improper leverage on NBHC, KJC then

preemptively initiated the underlying lawsuit.

                                FIRST CLAIM FOR RELIEF
                                   (Breach of Contract)

       25.    NBHC incorporates the preceding paragraphs as if fully set forth herein.

       26.    As set forth above, NBHC and KJC are parties to the Agreement, which is

a fully enforceable contract.

       27.    Pursuant to the Agreement, KJC agreed to provide certain products and

services to NBHC.

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       28.    In addition, KJC was obligated to ensure that the products that it provided

to NBHC were accurate and conformed to the specifications set forth in the purchase

authorization/orders.

       29.    In addition, in the event KJC failed to provide accurate and conforming

products, KJC was required to replace or repair those products to ensure that they

conformed.

       30.    The Agreement also provides that title and ownership to the products

purchased under the Agreement passed to NBH upon the purchase of said products.

       31.    The Agreement required KJC to ship products to NBHC that NBHC

purchased.

       32.    KJC breached its obligations under the Agreement by, including but not

limited to, failing to provide conforming and accurate products, failing to replace or repair

nonconforming products, failing and refusing to ship products that NBHC had ordered

and paid for, charging NBHC for amounts not due and owed to KJC, including interest on

invoices and storage fees for products KJC refused to ship to NBHC, and demanding

NBHC provide KJC with other consideration, such as a release and waiver, that KJC was

not entitled to before KJC would fulfill its obligations under the Agreement.

       33.    NBHC fulfilled all of its obligations pursuant to the Agreement.

       34.    As a result of KJC’s breaches of the Agreement, NBHC has suffered

damages in an amount to be proved at trial.

                            SECOND CLAIM FOR RELIEF
                   (Breach of Duty of Good Faith and Fair Dealing)

       35.    NBHC incorporates the preceding paragraphs as if fully set forth herein.

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       36.    The duty of good faith and fair dealing is implied in every contract.

       37.    The duty of good faith and fair dealing requires any party that has discretion

in fulfilling its obligations under a contract to exercise that discretion in good faith and

consistent with principles of fair dealing.

       38.    NBHC performed and fulfilled all of its obligations under the Agreement.

       39.    KJC improperly exercised its discretion that it may have had under the terms

of the Agreement in violation of the covenant of good faith and fair dealing and also

attempted to exercise discretion in fulfilling its obligations under the Agreement where it

had no such discretion.

       40.    For example, KJC breached the covenant of good faith and fair dealing

under the Agreement by, among other things, failing and refusing to ship products to

NBHC that NBHC had purchased from KJC, pursuant to standard shipping schedules

and practices; failing and refusing to ship products to NBHC unless NBHC agreed to

provide KJC with additional consideration that KJC was not entitled to; charging NBHC

additional amounts that were not permitted or due, including interest and storage fees;

failing to provide conforming products reasonably consistent with the orders submitted by

NBHC; failing to timely and appropriately address issues raised by NBHC about those

nonconforming products, by, at KJC’s option/discretion, replacing or repairing the

nonconforming products.

       41.    As a result of KJC’s breaches, NBHC has been damaged in an amount to

be determined at trial.




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                               THIRD CLAIM FOR RELIEF
                                     (Civil Theft)

       42.    NBHC incorporates the preceding paragraphs as if fully set forth herein.

       43.    NBHC purchased certain products from KJC.

       44.    NBHC paid KJC for those products.

       45.    Pursuant to the terms of the Agreement and otherwise, title and ownership

of those products passed to NBHC at the time of purchase.

       46.    As a result, NBHC owned these products.

       47.    KJC, however, knowingly and intentionally retained or exercised control

over a thing of value, namely the purchased products, which legally belonged to and was

owned by NBHC and without NBHC’s authorization, and otherwise refused to provide the

products to NBHC.

       48.    NBHC made repeated demands of KJC to provide NBHC the products that

it owned.

       49.    Despite these repeated demands, KJC refused to ship the products to

NBHC and, instead, continued to retain control and possession over the products.

       50.    Further, KJC demanded that NBHC provide KJC with consideration that it

was not otherwise entitled to receive in exchange for returning NBHC’s property.

       51.    For example, KJC improperly demanded the following consideration that it

was not entitled to: (a) a release and waiver of liability from NBHC; (b) payment for storage

fees that KJC allegedly incurred as a result of its own failure and refusal to ship NBHC’s

property, despite repeated demands, over the course of many months to ship the

property; (c) payment of separate and unrelated invoices, including interest, for purchases

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made by NBHC after the products KJC was improperly holding and which payments

NBHC was properly withholding as an offset to KJC’s theft of NBHC’s property; and (d)

using and leveraging its theft of NBHC’s property in an effort to receive more favorable

terms for an unrelated and unfounded dispute concerning KJC’s allegations that NBHC

did not purchase sufficient products from KJC.

       52.    As such, KJC has committed civil theft and is liable to NBHC, pursuant to

C.R.S. §§ 18-4-401, -405, for three times the amount of the actual damages suffered by

NBHC for the theft committed by KJC, in an amount to be proved at trial, plus costs and

attorneys’ fees.

                                   PRAYER FOR RELIEF

       WHEREFORE, NBHC prays for the following relief:

       A.     A judgment in favor of NBHC and against KJC on NBHC’s first claim for

relief – breach of contract – along with an award of damages in an amount to be proved

at trial, plus attorneys’ fees and costs;

       B.     A judgment in favor of NBHC and against KJC on NBHC’s second claim for

relief – breach of duty of good faith and fair dealing – along with an award of damages in

an amount to be proved at trial, plus attorneys’ fees and costs;

       C.     A judgment in favor of NBHC and against KJC on NBHC’s third claim for

relief – civil theft – along with an award of damages for three times NBHC’s actual

damages, to be proved at trial, plus attorneys’ fees and costs;

       D.     An award of attorneys’ fees and costs to NBHC and against KJC;




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      E.       An award of pre and post judgment interest in favor of NBHC and against

KJC; and

      F.       Such other relief in favor of NBHC that the Court deems just and

appropriate.

      Respectfully submitted this 10th day of February, 2025.

                                           s/ Zane A. Gilmer
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                                           Attorney for National Bank Holdings
                                           Corporation




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                             CERTIFICATE OF SERVICE

      I hereby certify, pursuant to D.C.COLO.LCivR 5.1(d), that on February 10, 2025,

a true and correct copy of the foregoing Answer, Affirmative Defenses, and Counterclaims

was electronically filed with the Clerk of Court using the CM/ECF system.



                                        s/ Zane A. Gilmer
                                        Zane A. Gilmer




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